 

Case 1:20-cv-04656-JGK Document9 Filed 11/05/20 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JUAN CARLOS MARTINEZ ROSENDO
Plaintiff, 20 cv 4656 (JGK)
- against - ORDER

JOHN DOE CORP. and GERSHOM LORDSON,

Defendants.

JOHN G. KOELTL, District Judge:
The plaintiff should file an Order to Show Cause for a

Default Judgment by December 4, 2020

SO ORDERED.
New York, New York Sa) b (br

Dated:
November 5, 2020
John G. Koeltl
United States District Judge

 

 

 

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